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             IN THE UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF COLUMBIA


                                      )
John C. Eastman                       )
                                      )
               v.                     )              NO. 1:21cv3273
                                      )
Thompson, et al.                      )
                                      )
                                      )
       Defendants                     )

                     RESPONSE TO ORDER TO SHOW CAUSE

     Comes now, the Plaintiff, John C. Eastman and offers this response to the Court’s

December 21, 2021 Order to Show cause. Plaintiff asserts as follows:

     1.     Upon filing this action, Plaintiff received via email a notice of error from the

          Court on December 15 requesting corrections to the initiating paperwork.

          Counsel attempted to make responsive filings on December 15 but experienced

          a technical problem with ECF.

     2.     Plaintiff contacted support services on December 16 for assistance with the

          technical issue. A response was received at 8:51pm on that date indicating the

          technical issue “should be resolved.” The technical issue having been resolved,

          plaintiff made two filings on December 17 in response to the December 15

          notice of error. ECF 2-3.

     3.     This Court issued a notice of error on December 20 stating that undersigned

          counsel still needed to make a change to the civil case cover sheet. Although

          the docket entry stated the notice was emailed, undersigned counsel can find no

          record of having received such email.
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     4.    Upon receiving this Court’s Order to Show Cause on today’s date,

          undersigned counsel submitted an amended civil case cover sheet as requested

          (ECF 4).

     For the foregoing reasons, plaintiff respectfully requests that the order to show

cause be dismissed.




                                                  Respectfully Submitted,

                                                  By:

                                                  /s/ Charles Burnham
                                                  Charles Burnham VSB # 72781
                                                  Attorney for Plaintiff
                                                  Burnham & Gorokhov, PLLC
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                                                  (202) 386-6920 (phone)
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                     CERTIFICATE OF SERVICE

I have served this filing on all parties through the Court’s ecf system.



                                              Respectfully Submitted,



                                              By: /s/ Charles Burnham
                                              Charles Burnham VSB # 72781
                                              Attorney for the Plaintiff
                                              Burnham & Gorokhov, PLLC
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